                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF GEORGIA
                               ALBANY DIVISION

UNITED STATES OF AMERICA,         :
                                  :
                 Plaintiff,       :
                                  :
           v.                     :               CASE NO.: 1:05-CR-00043-WLS-TQL-1
                                  :
DARREN CANTRELL MILLER,           :
                                  :
                 Defendant.       :
                                  :
_________________________________:

                                       ORDER
       Presently pending before the Court is Defendant Miller’s Motion to Supplement

(Doc. 98) his Motion for Compassionate Release (Doc. 96). Therein, Defendant seeks to

update and supplement his Motion for Compassionate Release (Doc. 96) to request an

“immediate[] release” in light of his cancer diagnosis. (Doc. 98, at 1). And in his Motion to

Supplement (Doc. 98), Defendant also made additional arguments to support his request for

immediate release.

       The Court, however, will not consider those arguments now, and instead, give

Defendant an opportunity to submit a final additional brief to supplement his Motion for

Compassionate Release (Doc. 96) and make those arguments in therein. As a result, the

Government may supplement its response as well.

       Thus, for good cause shown, Defendant’s Motion to Supplement (Doc. 98) is

GRANTED for a final supplement. Defendant shall have twenty-one (21) days after the entry

of this Order to file his additional motion to supplement his Motion for Compassion Release



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(Doc. 96). Upon its filing, the Government may file a final supplemental response within

fourteen (14) days after service of Defendant’s final supplemental briefing.


       SO ORDERED, this 24th day of October 2022.


                                           /s/ W. Louis Sands
                                           W. LOUIS SANDS, SR. JUDGE
                                           UNITED STATES DISTRICT COURT




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